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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

VS. Criminal Number 22 MJ 258

JAMES MCNAMARA
(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

|! AM APPEARING IN THIS ACTION AS: (Please check one)

[] cua [a] RETAINED [_]__ FEDERAL PUBLIC DEFENDER

 

* \_A (Sipnattet

PLEASE PRINT THE FOLLOWING INFORMATION:

6315765

 

(Attorney & Bar ID Number)
Breen & Pugh

 

(Firm Name)
53 W. Jackson Bivd., Suite1215
(Sireer Address)
Chicago, IL 60604
(City) (State) (Zip)
312-360-1001

(Telephone Number)

 

 

 
